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 4
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 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      LARRY DUNN,                                    Case No.:
10
                   Plaintiff,                        COMPLAINT FOR INJUNCTIVE
11                                                   RELIEF AND DAMAGES FOR DENIAL
            vs.                                      OF CIVIL RIGHTS OF A DISABLED
12                                                   PERSON IN VIOLATIONS OF
13                                                   1. AMERICANS WITH DISABILITIES
                                                     ACT, 42 U.S.C. §12131 et seq.;
14    CHIN HYUN KIM D/B/A ROSE 1 HOUR
      PHOTO AND STUDIO; 12208 WEST                   2. CALIFORNIA’S UNRUH CIVIL
15                                                   RIGHTS ACT;
      PICO, LLC; and DOES 1 to 10,
16                 Defendants.                       3. CALIFORNIA’S DISABLED
                                                     PERSONS ACT;
17
                                                     4. CALIFORNIA HEALTH & SAFETY
18                                                   CODE;
19                                                   5. NEGLIGENCE
20
21
22
23          Plaintiff LARRY DUNN (“Plaintiff”) complains of Defendants CHIN HYUN KIM
24    D/B/A ROSE 1 HOUR PHOTO AND STUDIO; 12208 WEST PICO, LLC; and DOES 1
25    to 10 (“Defendants”) and alleges as follows:
26    //
27    //
28    //



                                           COMPLAINT - 1
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 1                                               PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    diagnosed with quadriplegia and is substantially limited in his ability to walk. Plaintiff
 4    requires the use of a wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a photo lab (“Business”)
 7    located at or about 12216 W Pico Blvd, Los Angeles, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about March of 2025, Plaintiff went to the Business.
11          11.    The Business is a photo lab business establishment, open to the public, and
12    is a place of public accommodation that affects commerce through its operation.
13          12.    While attempting to enter the Business during each visit, Plaintiff personally
14    encountered a number of barriers that interfered with his ability to use and enjoy the
15    goods, services, privileges, and accommodations offered at the Business.
16          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17    included, but were not limited to, the following:
18                 a.     Defendants failed to maintain accessibility for persons with
19                        disabilities to comply with the federal and state standards. Defendants
20                        failed to provide at least one accessible entrance as required as the
21                        ramp that runs up to the entrance did not have level landing and had a
22                        slope that was too steep.
23          14.    These barriers and conditions denied Plaintiff the full and equal access to the
24    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
25    patronize the Business; however, Plaintiff is deterred from visiting the Business because
26    his knowledge of these violations prevents him from returning until the barriers are
27    removed.
28




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 1          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2    there are additional barriers to accessibility at the Business after further site inspection.
 3    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6    knew that particular barriers render the Business inaccessible, violate state and federal
 7    law, and interfere with access for the physically disabled.
 8          17.    At all relevant times, Defendants had and still have control and dominion
 9    over the conditions at this location and had and still have the financial resources to
10    remove these barriers without much difficulty or expenses to make the Business
11    accessible to the physically disabled in compliance with ADDAG and Title 24
12    regulations. Defendants have not removed such barriers and have not modified the
13    Business to conform to accessibility regulations.
14                                      FIRST CAUSE OF ACTION
15           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16          18.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19    shall be discriminated against on the basis of disability in the full and equal enjoyment of
20    the goods, services, facilities, privileges, advantages, or accommodations of any place of
21    public accommodation by any person who owns, leases, or leases to, or operates a place
22    of public accommodation. See 42 U.S.C. § 12182(a).
23          20.    Discrimination, inter alia, includes:
24                 a.     A failure to make reasonable modification in policies, practices, or
25                        procedures, when such modifications are necessary to afford such
26                        goods, services, facilities, privileges, advantages, or accommodations
27                        to individuals with disabilities, unless the entity can demonstrate that
28                        making such modifications would fundamentally alter the nature of



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 1                     such goods, services, facilities, privileges, advantages, or
 2                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3                b.   A failure to take such steps as may be necessary to ensure that no
 4                     individual with a disability is excluded, denied services, segregated or
 5                     otherwise treated differently than other individuals because of the
 6                     absence of auxiliary aids and services, unless the entity can
 7                     demonstrate that taking such steps would fundamentally alter the
 8                     nature of the good, service, facility, privilege, advantage, or
 9                     accommodation being offered or would result in an undue burden. 42
10                     U.S.C. § 12182(b)(2)(A)(iii).
11                c.   A failure to remove architectural barriers, and communication barriers
12                     that are structural in nature, in existing facilities, and transportation
13                     barriers in existing vehicles and rail passenger cars used by an
14                     establishment for transporting individuals (not including barriers that
15                     can only be removed through the retrofitting of vehicles or rail
16                     passenger cars by the installation of a hydraulic or other lift), where
17                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18                d.   A failure to make alterations in such a manner that, to the maximum
19                     extent feasible, the altered portions of the facility are readily
20                     accessible to and usable by individuals with disabilities, including
21                     individuals who use wheelchairs or to ensure that, to the maximum
22                     extent feasible, the path of travel to the altered area and the
23                     bathrooms, telephones, and drinking fountains serving the altered
24                     area, are readily accessible to and usable by individuals with
25                     disabilities where such alterations to the path or travel or the
26                     bathrooms, telephones, and drinking fountains serving the altered area
27                     are not disproportionate to the overall alterations in terms of cost and
28                     scope. 42 U.S.C. § 12183(a)(2).



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 1          21.      At least one accessible route shall connect accessible building, facilities,
 2    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
 3    accommodation shall maintain in operable working condition those features of facilities
 4    and equipment that are required to be readily accessible to and usable by persons with
 5    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6          22.      Here, Defendants failed to provide at least one accessible entrance to the
 7    Business as the ramp that runs up to the entrance did not have level landing and had a
 8    slope that was too steep.
 9          23.      A public accommodation shall maintain in operable working condition those
10    features of facilities and equipment that are required to be readily accessible to and usable
11    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
12          24.      By failing to maintain the facility to be readily accessible and usable by
13    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
14    regulations.
15          25.      The Business has denied and continues to deny full and equal access to
16    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17    discriminated against due to the lack of accessible facilities, and therefore, seeks
18    injunctive relief to alter facilities to make such facilities readily accessible to and usable
19    by individuals with disabilities.
20                                  SECOND CAUSE OF ACTION
21                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22          26.      Plaintiff incorporates by reference each of the allegations in all prior
23    paragraphs in this complaint.
24          27.      California Civil Code § 51 states, “All persons within the jurisdiction of this
25    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26    national origin, disability, medical condition, genetic information, marital status, sexual
27    orientation, citizenship, primary language, or immigration status are entitled to the full
28




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 1    and equal accommodations, advantages, facilities, privileges, or services in all business
 2    establishments of every kind whatsoever.”
 3          28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5    for each and every offense for the actual damages, and any amount that may be
 6    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9    person denied the rights provided in Section 51, 51.5, or 51.6.
10          29.    California Civil Code § 51(f) specifies, “a violation of the right of any
11    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12    shall also constitute a violation of this section.”
13          30.    The actions and omissions of Defendants alleged herein constitute a denial
14    of full and equal accommodation, advantages, facilities, privileges, or services by
15    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17    51 and 52.
18          31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20    damages as specified in California Civil Code §55.56(a)-(c).
21                                   THIRD CAUSE OF ACTION
22                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23          32.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26    entitled to full and equal access, as other members of the general public, to
27    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4    places of public accommodations, amusement, or resort, and other places in which the
 5    general public is invited, subject only to the conditions and limitations established by
 6    law, or state or federal regulation, and applicable alike to all persons.
 7          34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8    corporation who denies or interferes with admittance to or enjoyment of public facilities
 9    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11    the actual damages, and any amount as may be determined by a jury, or a court sitting
12    without a jury, up to a maximum of three times the amount of actual damages but in no
13    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14    determined by the court in addition thereto, suffered by any person denied the rights
15    provided in Section 54, 54.1, and 54.2.
16          35.    California Civil Code § 54(d) specifies, “a violation of the right of an
17    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18    constitute a violation of this section, and nothing in this section shall be construed to limit
19    the access of any person in violation of that act.
20          36.    The actions and omissions of Defendants alleged herein constitute a denial
21    of full and equal accommodation, advantages, and facilities by physically disabled
22    persons within the meaning of California Civil Code § 54. Defendants have
23    discriminated against Plaintiff in violation of California Civil Code § 54.
24          37.    The violations of the California Disabled Persons Act caused Plaintiff to
25    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26    statutory damages as specified in California Civil Code §55.56(a)-(c).
27    //
28    //



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 1                                 FOURTH CAUSE OF ACTION
 2                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3          38.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          39.    Plaintiff and other similar physically disabled persons who require the use of
 6    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7    such facility is in compliance with the provisions of California Health & Safety Code §
 8    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9    provisions of California Health & Safety Code § 19955 et seq.
10          40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11    that public accommodations or facilities constructed in this state with private funds
12    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13    Title 1 of the Government Code. The code relating to such public accommodations also
14    require that “when sanitary facilities are made available for the public, clients, or
15    employees in these stations, centers, or buildings, they shall be made available for
16    persons with disabilities.
17          41.    Title II of the ADA holds as a “general rule” that no individual shall be
18    discriminated against on the basis of disability in the full and equal enjoyment of goods
19    (or use), services, facilities, privileges, and accommodations offered by any person who
20    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21    Further, each and every violation of the ADA also constitutes a separate and distinct
22    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23    award of damages and injunctive relief pursuant to California law, including but not
24    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                    FIFTH CAUSE OF ACTION
26                                          NEGLIGENCE
27          42.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



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 1          43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          44.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21                               DEMAND FOR TRIAL BY JURY
22          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23   demands a trial by jury on all issues so triable.
24
25   Dated: June 5, 2025                     SO. CAL. EQUAL ACCESS GROUP
26
27                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
28                                                  Attorneys for Plaintiff



                                           COMPLAINT - 10
